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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA


   IN RE: ZANTAC (RANITIDINE)                                                    MDL NO. 2924
   PRODUCTS LIABILITY                                                             20-MD-2924
   LITIGATION
                                                         JUDGE ROBIN L. ROSENBERG
                                               MAGISTRATE JUDGE BRUCE E. REINHART

   _______________________________/

   THIS DOCUMENT RELATES TO: ALL CASES


                                     PRETRIAL ORDER #18
                            Order on Production of Records for Initial
                         Census for Deceased and Incapacitated Claimants

          This matter comes before the Court upon the parties’ request for entry of a Pretrial Order

   governing the ability of Plaintiffs and/or Registered Claimants to obtain medical or other records

   establishing proof of use and injury on behalf of decedents and/or incapacitated individuals. This

   Order governs only those Plaintiffs and/or Registered Claimants who allege a personal injury or

   wrongful death and survival claim on behalf of an incapacitated individual or decedent who

   ingested Zantac and/or ranitidine with a complaint pending in MDL No. 2924 or who have filed a

   Census Plus Form within the Claims Registry in accordance with Pretrial Order #15.

          In an effort to conserve resources and efficiently and timely obtain proof of use and injury

   records for above-referenced incapacitated individuals and/or decedents, and for the purpose of

   promoting a prompt and accurate initial comprehensive census of personal injury claims, pursuant

   to Pretrial Order #15, this Court hereby institutes a process whereby it will designate certain

   individuals as Limited Purpose Representatives of the estates or persons at issue for the purpose

   of collecting relevant medical records and/or other records documenting purchase or use of Zantac

   and/or ranitidine products and/or injury.
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          To be appointed a Limited Purpose Representative, Plaintiffs or Registered Claimants, or

   their counsel, must submit a death certificate or proof of incapacitation and certified

   documentation evidencing their relationship to the decedent or incapacitated individual, and the

   form attached hereto as Exhibit A, to the appointed Special Master, Professor Jaime Lynne Dodge,

   via the LMI census hosting platform described in Pretrial Order #15. Upon receipt of valid

   documentation, Special Master Dodge will cause to be placed on the form a note that it has been

   reviewed and “Approved.”

          IT IS HEREBY ORDERED, that once a Limited Purpose Representative’s Form is

   approved by Special Master Dodge, he/she is authorized to execute Medical Records Authorization

   Forms on behalf of incapacitated or deceased individuals.

          IT IS FURTHER ORDERED that any entity in possession of medical records, and/or

   other records documenting purchase or use of Zantac and/or ranitidine products and/or injury for

   the decedent or incapacitated individual (including but not limited to physicians, healthcare

   providers, pharmacies, Prescription Benefit Managers, and insurance providers) that are provided

   with an Approved Form, an executed authorization, and a copy of this Order shall produce the

   required records within 15 days. All requested records or data should be produced directly to

   Special Master Dodge by uploading to the platform hosted by Lexitas, the parties’ medical records

   collection vendor under Pretrial Order #15. The production shall be labeled with the name of the

   individual whose records are being produced and a reference that the production is made pursuant

   to Pretrial Order #18, In re: Zantac (Ranitidine) Products Liability Litigation, MDL 2924.

          This Order does not change the requirements of Federal Rule of Civil Procedure 17.

   Nothing in this Order will supersede any Plaintiff or Registered Claimant’s requirement to probate




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   an estate in the state of residence of decedent as required by applicable state and/or federal law, or

   to otherwise fulfill state law requirements to prosecute an action on behalf of a decedent.

           This Order is issued pursuant to the Court’s express authority to direct and control the

   coordinated discovery in this litigation pursuant to 28 U.S.C. § 1407, Fed. R. Civ. P. 16, Fed. R.

   Civ. P. 26(b), and the Court’s inherent authority regarding discovery in this MDL.

           This Order expires on the date that the Registry expires in accordance with PTO 15.

           DONE and ORDERED in Chambers, West Palm Beach, Florida, this 15th day of April,

   2020.


                                                         _______________________________
                                                         ROBIN L. ROSENBERG
                                                         UNITED STATES DISTRICT JUDGE




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                   REPRESENTATIVE CLAIMANT OF DECEASED ZANTAC USER
                                           A. ZANTAC USER CLAIMANT
                                          (All Claimants complete this Section)
           First                                               MI                    Last
Name

SSN
Date of            /     /                Date of          /       /                 Was death caused by Zantac use?
Birth      (month) (day) (year)           Death        (month) (day)   (year)                  Yes          No
State/Territory/Country of Domicile of Zantac User
Claimant at Time of Death

           Was the Zantac User Claimant survived by a spouse at the time of death?                                        Yes       No
Spouse     If Yes, provide the following information on the surviving spouse:
of the                            First                                         MI          Last
Zantac                 Name
User
                       SSN                                                      Is the Spouse now deceased?                Yes      No

                                    B. TESTATE ZANTAC USER CLAIMANT
                                     (Testate Claimants complete this Section)
      The Zantac User Claimant had a valid Will at the time of death. NOTE: If the Claimant had no valid Will,
      complete Section C of this Form.

      A copy of the Will is submitted with this Form. NOTE: Fill out the remainder of Section B of this Form. If
      the person named in the Will as the Personal Representative, Administrator, or Executor is not serving, then
      provide this information on the person serving.
                                                First Name                            MI           Last Name
Name of Personal Representative,
Administrator, or Executor
                                                Street/P.O. Box

Address                                         City                                                           State      Zip



                                                    Spouse                      Parent              Child                 Sibling
Relationship to Zantac User Claimant
                                                    Administrator               Executor            Other              (specify)

                                                       This Will was submitted for probate proceedings. NOTE: If a
                                                       Personal Representative, Administrator, or Executor has been
                                                       appointed, submit a copy of such appointment document along
Status of the Will
                                                       with this Form.

                                                       This Will has not been submitted for probate proceedings.


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                                C. INTESTATE ZANTAC USER CLAIMANT
                                  (Intestate Claimants complete this Section)
       The Zantac User Claimant had no valid Will at the time of death.
                                      A Personal Representative has been appointed for the estate of the Zantac User
                                      Claimant. NOTE: If a Personal Representative has been appointed, submit a
                                      copy of such appointment document along with this Form.
Personal Representative               Estate proceedings have been filed but no Personal Representative has been
                                      appointed for the estate of the Zantac User Claimant.
                                      No Personal Representative has been appointed for the estate of the Zantac
                                      User Claimant and no estate proceedings have been filed.
                              Identify the state, territory or country whose laws of
Intestate Succession          Intestate Succession apply to the Estate of the
                              Zantac User Claimant:
If there was no surviving spouse at the time of the Zantac User Claimant’s death, or if under applicable law the
surviving spouse is not the first to succeed to the estate, identify the person(s) who are the next to succeed.
(Attach additional sheets if necessary):
                              First                              MI          Last
Name

                                                                  Date                        /         /
SSN                                                                of                   (month) (day) (year)
                                                                  Birth
Relationship to Zantac                Spouse       Parent          Child            Sibling                 Administrator
User Claimant                         Executor     Other         (specify)
                                                D. CERTIFICATION
                                         (All Claimants complete this Section)
       I am counsel for the Zantac User Claimant. I declare under penalty of perjury under the laws of the
       United States of America that the foregoing is true and correct.
       The Zantac User Claimant is not represented by counsel. I am authorized to complete this form on behalf
       of the Zantac User Claimant and declare under penalty of perjury under the laws of the United States of
       America that the foregoing is true and correct.

Signature                                                             Date                          /          /_
                                                                                          (month) (day) (year)

            First                                    MI               Last
Name
            Street/P.O. Box


Address
            City                                                                                  State         Zip




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